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                                                                                              Monthly Operating Report
                                                                                                            ACCRUAL BASIS-1

     CASE NAME:                                                          Highland Capital Management, LP

     CASE NUMBER:                                                        19-12239-CSS

  Comparative Balance Sheet
  (in thousands)


                                                                             10/15/2019           10/31/2019          11/30/2019

     Assets

             Cash and cash equivalents                                               2,529              2,286               6,343
             Investments, at fair value(3)                                         232,620            235,144             233,776
             Equity method investees(3)                                            161,819            161,813             175,381
             Management and incentive fee receivable                                 2,579              3,202               1,223
             Fixed assets, net                                                       3,754              3,672               3,601
             Due from affiliates (1)                                               151,901            152,124             152,523
             Other assets                                                           11,311             11,260              10,621
     Total assets                                                        $         566,513        $   569,501        $    583,468


     Liabilities and Partners' Capital

             Pre-petition accounts payable(4)                                         1,176             1,135               1,250
             Post-petition accounts payable(4)                                          -                 102                 236
             Secured debt:
                   Frontier                                                          5,195              5,195               5,195
                   Jefferies                                                        30,328             30,315              30,268
             Accrued expenses and other liabilities(4)                              59,203             59,184              60,848
             Accrued re-organization related fees(5)                                   -                  -                   -
             Claim accrual (2)                                                      73,997             73,997              73,997
             Partners' capital                                                     396,614            399,573             411,674
     Total liabilities and partners' capita                              $         566,513        $   569,501        $    583,468




       (1)
             Includes various notes receivable at carrying value (fv undetermined).
       (2)   Uncontested portion of claim less appplicable offsets. Potential for additional liability based on future events. No interest has
             been accrued beyond petition date.
       (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
             readily available market price information. Limited partnership interests normally marked to a NAV statement have not been
             updated as of period end as statements are generally available on a one-month lag.
       (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
             recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates
             for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts include both
             pre-petition and post-petition liabilities.
       (5)   Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed prior to the petition
             date. No additional amounts were accrued between October 16, 2019 and November 30, 2019
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                                                                                                                                      Monthly Operating Report
                                                                                                                                                          ACCRUAL BASIS-2
        CASE NAME:                              Highland Capital Management, LP

        CASE NUMBER:                            19-12239-CSS

                             1
Income Statement
(in thousands)
                                                                                         Date                        Month ended                   Filing to Date
                                                                                  10/16/19 - 10/31/19                 11/30/2019
        Revenue:
         Management fees                                                                              975                          1,638                        2,613
         Shared services fees                                                                         283                            709                          992
         Other income                                                                                     99                         418                          517

              Total operating revenue                                                               1,357                          2,765                        4,122

        Operating expenses:
         Compensation and Benefits                                                                    997                          1,936                        2,932
         Professional services                                                                        256                             90                          346
         Investment research and consulting                                                               10                          34                               44
         Marketing and advertising expense                                                            -                               35                               35
         Depreciation expense                                                                             82                          82                          164
         Other operating expenses                                                                     201                            480                          681

              Total operating expenses                                                              1,545                          2,657                        4,202

        Operating income/(loss)                                                                      (188)                           108                           (80)

        Other income/expense:
         Interest income                                                                              250                            484                          735
         Interest expense                                                                            (107)                          (103)                         (211)
         Re-org related expenses(2)                                                                        -                            -                          -
         Other income/expense                                                                             32                            -                              32

              Total other income/expense                                                              175                            381                          555


           Net realized gains/(losses) on investments                                                 339                            279                          618
           Net change in unrealized gains/(losses) of investments(3)                                2,654                         (2,004)                         650

                                                                                                    2,993                         (1,725)                       1,268
                                                                           (3)
        Net earnings/(losses) from equity method investees                                            (20)                        13,468                       13,448

              Net income/(loss)                                                   $                 2,959        $                12,232       $               15,192

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating
accruals, but do not reflect estimates for other incurred, but not yet received invoices.
(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date. No additional amounts were accrued
between October 16, 2019 and November 30, 2019
(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price
information. Limited partnership interests normally marked to a NAV statement have not been updated as of period end as statements are generally available on a one-
month lag.
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                                                                                                                     Monthly Operating Report
                                                                                                                                  ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054


CASH RECEIPTS AND DISBURSEMENTS                                               OCTOBER              NOVEMBER            DECEMBER              QUARTER
1. CASH - BEGINNING OF MONTH 2                                                    $2,554,230          $2,286,160                                $2,554,230
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                                       $6,911.97           $972,733                                  $979,644
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                                      $15,000.00          $1,764,749                               $1,779,749
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                                     $46,425          $2,962,108                                $3,008,534
5    POSTPETITION 1                                                                       -                   -                                         -
6  TOTAL OPERATING RECEIPTS                                                          $68,337          $5,699,590                                $5,767,928
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                                    $79,266            $320,836                                  $400,103
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                                    $410,189            $501,983                                  $912,172
9    OTHER (ATTACH LIST)                                                                                                                                $0
10   TOTAL NON-OPERATING RECEIPTS                                                   $489,456            $822,820                                $1,312,275
11   TOTAL RECEIPTS                                                                 $557,793          $6,522,410                                $7,080,203
12 TOTAL CASH AVAILABLE                                                           $3,112,023          $8,808,570
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                                       $737,588            $961,282                                $1,698,869
14   SINGAPORE SERVICE FEES                                                          $34,633              $32,555                                  $67,189
15   HCM LATIN AMERICA                                                                                  $100,000                                  $100,000
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                                                           $967,555                                  $967,555
17   UTILITIES                                                                                                                                           $0
18   INSURANCE                                                                                                                                           $0
19   INVENTORY PURCHASES                                                                                                                                 $0
20   VEHICLE EXPENSES                                                                                                                                    $0
21   TRAVEL                                                                                                                                              $0
22   ENTERTAINMENT                                                                                                                                       $0
23   REPAIRS & MAINTENANCE                                                                                                                               $0
24   SUPPLIES                                                                                                                                            $0
25   ADVERTISING                                                                                                                                         $0
26   OTHER (ATTACH LIST)                                                             $53,642            $404,581                                  $458,223
27 TOTAL OPERATING DISBURSEMENTS                                                    $825,863          $2,465,973                                $3,291,836
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                                                                                                   $0
29   U.S. TRUSTEE FEES                                                                                                                                   $0
30   OTHER (ATTACH LIST)                                                                                                                                 $0
31   TOTAL REORGANIZATION EXPENSES                                                            $0               $0                                        $0
32   TOTAL DISBURSEMENTS                                                            $825,863          $2,465,973                                $3,291,836
33   NET CASH FLOW                                                                 ($268,070)         $4,056,437                                $3,788,367
34   CASH - END OF MONTH                                                          $2,286,160          $6,342,598                                $6,342,598

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
2    Beginning cash in October represents the bank balance as of the filing date, while the cash amount shown on the balance sheet includes any outstanding checks.
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                                                                    Monthly Operating Report
                                                                               ACCRUAL BASIS-3B
           CASE NAME:    Highland Capital Management

           CASE NUMBER: 19-34054



           OPERATING DISBURSMENTS - OTHER

                                      Date             Amount        Vendor
                                    11/1/2019          $ 155,983    Crescent TC Invest
                                    11/1/2019             26,667    Third Party Consultant
                                    11/1/2019             13,636    Third Party Consultant
                                    11/8/2019             33,007    Platinum Parking
                                    11/8/2019              1,053    Gold's Gym International
                                   11/12/2019              1,525    MicroTel
                                   11/15/2019              1,951    Compass Bank Operating
                                   11/18/2019              2,047    Zayo
                                   11/20/2019              2,894    Third Party Consultant
                                   11/25/2019             24,232    Coleman Research Group, Inc.
                                   11/26/2019              3,092    Canteen Vending
                                   11/26/2019                 925   UPS Small Package
                                   11/26/2019                 671   SolarWinds
                                   11/26/2019              7,995    Intralinks Inc
                                   11/26/2019             56,522    Houlihan Lokey Financial Advisors
                                   11/26/2019              9,259    Willis of Texas, Inc.
                                   11/26/2019              8,846    GrubHub for Work
                                   11/29/2019             31,894    Third Party Consultant
                                   11/29/2019             11,000    Third Party Consultant
                                   11/29/2019             11,382    Verity Group
                                                       $ 404,581


                                                              -
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                                                                                                                         Monthly Operating Report
                                                                                                                                          ACCRUAL BASIS-4
CASE NAME:                               Highland Capital Management

CASE NUMBER:                             19-34054

                                                                  SCHEDULE
MGMT FEE RECEIVABLE AGING 2                                        AMOUNT                   October                   November                 December
1. 0-30                                                         $    2,578,744 $                 3,201,548     $           1,222,880
2. 31-60                                                                                                $0
3. 61-90                                                                                                $0
4. 91+                                                                                                 -
5.       TOTAL MGMT FEE RECEIVABLE                              $       2,578,744    $             3,201,548   $             1,222,880                        $0
6.       AMOUNT CONSIDERED UNCOLLECTIBLE
7.       MGMT FEE RECEIVABLE (NET)                              $       2,578,744    $             3,201,548   $             1,222,880                        $0


AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                     November 2019

                                                 0-30                 31-60                  61-90                       91+
TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
1.  FEDERAL                                                                                                                                                   $0
2.  STATE                                                                                                                                                     $0
3.  LOCAL                                                                                                                                                     $0
4.  OTHER (ATTACH LIST)                                                                                                                                       $0
5.  TOTAL TAXES PAYABLE                                    $0                   $0                        $0                         $0                       $0

6.       ACCOUNTS PAYABLE                           $215,777              $20,059                                                                        $235,836


STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                     November 2019

                                                                    BEGINNING               AMOUNT                                             ENDING
                                                                       TAX               WITHHELD AND/                AMOUNT                     TAX
FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
1.  WITHHOLDING                                                                                                                                               $0
2.  FICA-EMPLOYEE                                                                                                                                             $0
3.  FICA-EMPLOYER                                                                                                                                             $0
4.  UNEMPLOYMENT                                                                                                                                              $0
5.  INCOME                                                                                                                                                    $0
6.  OTHER (ATTACH LIST)                                                                                                                                       $0
7.  TOTAL FEDERAL TAXES                                                         $0                        $0                         $0                       $0
STATE AND LOCAL
8.  WITHHOLDING                                                                                                                                                $0
9.  SALES                                                                                                                                                      $0
10. EXCISE                                                                                                                                                     $0
11. UNEMPLOYMENT                                                                                                                                               $0
12. REAL PROPERTY                                               $          16,472                         $0                         $0                   $16,472
13. PERSONAL PROPERTY                                                                                                                                          $0
14. OTHER (ATTACH LIST)                                                                                                                                        $0
15. TOTAL STATE & LOCAL                                                   $16,472                         $0                         $0                   $16,472
16. TOTAL TAXES                                                           $16,472                         $0                         $0                   $16,472

     1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
         withholdings.
     2   Aging based on when management fee is due and payable.
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                                                                                                                                                                              Monthly Operating Report
                                                                                                                                                                                              ACCRUAL BASIS-5
CASE NAME:                     Highland Capital Management


CASE NUMBER:                   19-34054


                                                                                              MONTH:                   November                                                                   2019
BANK RECONCILIATIONS
                                                               Account #1              Account #2               Account #3            Account #4          Account #5          Account #6
A.      BANK:                                                BBVA Compass            East West Bank           East West Bank         Maxim Group         Jefferies LLC         Nexbank
B.      ACCOUNT NUMBER:                                           x6342                   x4686                   x4693                 x1885               x0932               x5891                    TOTAL
C.      PURPOSE (TYPE):                                         Operating               Operating                Insurance            Brokerage           Brokerage              CD
                                                1
1.     BALANCE PER BANK STATEMENT                                     $229,247               $5,477,826                   $105,067                $164             $410,108            $135,205           $6,357,616
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                           $0
3.     SUBTRACT: OUTSTANDING CHECKS                                    $15,019                                                                                                                               $15,019
4.     OTHER RECONCILING ITEMS                                                                                                                                                                                    $0
5.     MONTH END BALANCE PER BOOKS                                    $214,228              $5,477,826                    $105,067                $164             $410,108            $135,205           $6,342,598
6.     NUMBER OF LAST CHECK WRITTEN                               18133                  100001                     n/a                  n/a                 n/a                 n/a




INVESTMENT ACCOUNTS

                                                               DATE OF                 TYPE OF                 PURCHASE                                                                              CURRENT
BANK, ACCOUNT NAME & NUMBER                                   PURCHASE               INSTRUMENT                  PRICE                                                                                VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                          $0                                                                                $0


CASH

12.                            CURRENCY ON HAND                                                                                                                                                                  $0

13.                            TOTAL CASH - END OF MONTH                                                                                                                                                  $6,342,598

1      For Compass account x6342, funds transferred in December such that only sufficient cash to cover outstanding checks remains
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                                                                                                                                                             ACCRUAL BASIS-6
CASE NAME:                                               Highland Capital Management

CASE NUMBER:                                             19-34054


                                                                                                                                  MONTH:               November 2019

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                  INSIDERS
                                                                     TYPE OF                    AMOUNT                 TOTAL PAID
            NAME                                                    PAYMENT                      PAID                   TO DATE
1      Frank Waterhouse                                  Salary                                       $29,167                      $43,750
2      Frank Waterhouse                                  Expense Reimbursement                           $339                         $506
3      Scott Ellington                                   Salary                                       $37,500                      $56,250
4      Scott Ellington                                   Expense Reimbursement                            $84                        $2,010
5      James Dondero                                     Salary                                       $46,875                      $70,313
                                                                                  1
6      James Dondero                                     Expense Reimbursement                        $11,255                      $15,269
7      Thomas Surgent                                    Salary                                       $33,333                      $50,000
8      Thomas Surgent                                    Expense Reimbursement                           $224                         $248
9      Trey Parker                                       Salary                                       $29,167                      $43,750
10 Trey Parker                                 Expense Reimbursement                                     $207                         $425
                             TOTAL PAYMENTS TO INSIDERS                                              $188,151                     $282,519

     1 The total amount of reimbursements also included $83,358 for use of the credit card by the Debtor for office related expenses such as subscriptions, employee lunches, vending
       supplies, IT equipment/software, employee gifts/awards, training, postage and charitable donations.

                                                                          PROFESSIONALS 2
                                                               DATE OF COURT                                                                                              TOTAL
                                                             ORDER AUTHORIZING      AMOUNT                               AMOUNT                 TOTAL PAID              INCURRED
               NAME                                              PAYMENT           APPROVED                               PAID                   TO DATE                & UNPAID
1.
2.
3.
4.
5.
6.     TOTAL PAYMENTS TO PROFESSIONALS                                                                                                   $0                      $0               $0

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                              SCHEDULED                 AMOUNTS
                                                                                               MONTHLY                    PAID                    TOTAL
                                                                                              PAYMENTS                   DURING                   UNPAID
                                   NAME OF CREDITOR                                              DUE                     MONTH                 POSTPETITION
1.     Crescent TC Investors LP (rent portion only)                                                   130,364                      130,364                   -
2.
3.
4.
5.
6.     TOTAL                                                                                          130,364                     $130,364                    $0
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                                                                                              Monthly Operating Report
                                                                                                            ACCRUAL BASIS-7
  CASE NAME:                 Highland Capital Management


  CASE NUMBER:               19-34054

                                                                                     MONTH:           November 2019

  QUESTIONNAIRE

                                                                                                      YES                NO
  1.    HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                          x
        THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.    HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                        x
        OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.    ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                        x
        LOANS) DUE FROM RELATED PARTIES?
  4.    HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                        x
        THIS REPORTING PERIOD?
  5.    HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                          x
        DEBTOR FROM ANY PARTY?
  6.    ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                      x
  7.    ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                          x
        PAST DUE?
  8.    ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                  x
  9.    ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                        x
  10.   ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                          x
        DELINQUENT?
  11.   HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                          x
        REPORTING PERIOD?
  12.   ARE ANY WAGE PAYMENTS PAST DUE?                                                                                   x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.
    2 $1,206,592 of funds paid from non-debtor in possession accounts, while those accounts were in the process of being opened.
    3 Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
      further discussion.
    4 Payments have been made on prepetition liabilities, as approved in the critical vendor motion.

  INSURANCE
                                                                                                      YES                NO
  1.    ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                        x
        NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.    ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                          x
  3.    PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.




                                                      INSTALLMENT PAYMENTS
          TYPE OF                                                                                      PAYMENT AMOUNT
          POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
